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I was born in (EE, Venezuela, on a. Prior to being

detained, I was living in Pittsburg, California. I am currently detained at the El Valle
Detention Facility in Raymondville, Texas.

My only entry into the United States was on March 25, 2024, through El Paso, Texas. I
came to the United States because I fear being killed, arbitrarily imprisoned, beaten and
tortured by Venezuelan police since they have already tortured, arbitrarily imprisoned
me, and beaten me. I fear that the Venezuelan police and government will target me
because of my actual/imputed political opinion, my familial connection to my I
who is a known political dissident, and because the U.S. government erroneously
suspects that I am a Tren de Aragua member. Due to this fear, I am seeking asylum,
withholding, and CAT protection before the immigration court in Adelanto, California. I
am awaiting a hearing on the merits of my applications for protection.

ICE erroneously claims that I am a Tren de Aragua member. However, I am not a Tren
de Aragua member, and I have never been a Tren de Aragua member. The sole reason
ICE claims that I am a Tren de Aragua member is because of my tattoos.

I was instructed by ICE to come to their office on October 3, 2024, for an interview.
During that interview, I was detained by ICE because they erroneously suspected that I
was a Tren de Aragua member on account of my tattoos. I am a tattoo artist, and I told
them that none of my tattoos are associated with Tren de Aragua. One of the two tattoos
that ICE questioned me about is a tattoo of an eye, as |
got the eye tattoo because I saw it on Google, and I thought it looked cool. A friend did
the tattoo for me. Another tattoo of mine that ICE questioned me about is a tattoo on my
that has a rose and a skull. I got that tattoo because I previously had a monkey
tattoo on hat I wanted to cover up. I am not and have never been a member
of or associated with Tren de Aragua in any way. I also have not been arrested for or

convicted of any crime anywhere in the world, and I have never been a member or
associated with any other criminal organization.

I was taken to Golden State Annex (GSA) in McFarland, California on October 4, 2024,
and was detained there until March 6, 2025. On March 6, 2025, at approximately 2am, I
was awoken, taken out of my cell and told that I was being released and made to sign
papers in English, which is not my native language. I asked what the papers were
concerning, and I was told that I was being released, and the papers were to get by
property returned to me. I signed them under the false pretext that I was being released. I
was not released and instead was taken to an unknown location. I called my friend [i
and my attorney frantically because I was terrified, and I did not know what was
happening. I was then transferred to El Valle Detention Facility in Raymondville, Texas,
but I did not learn my destination until I arrived. When I got to El Valle Detention
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Facility, I met other Venezuelans who were also recently transferred there. I learned that
these other Venezuelans, like me, do not have any criminal history and are suspected
Tren de Aragua members.

6. On March 14, 2025, at approximately 3am, I was awakened and was told that I was going
to be transferred elsewhere. The guards told me to grab all my things because I was going
to be taken immediately. I asked the guards where they were taking me, but they said that
they did not know, and they refused to give me more information. Soon after, they told
me that the plane that I was supposed to get on malfunctioned and that I would be taken
elsewhere either at night on March 14, 2025, or in the morning on March 15, 2025. I was
then returned to my dorm. At this time, I do not know where I am being taken, and I am
terrified of where I will end up or what will happen to me. I called my attorney,
Stephanie Quintero, at approximately 9:45am and informed her of what happened.

Ti: I ask that I be properly allowed to pursue my applications for protection in the U.S.,
where I would be safe from harm.

I, , Swear under penalty of perjury that the forgoing declaration was
read back to me in Spanish, and that it is true and correct to the best of my knowledge and
recollection.

———

03/14/2025
Date

I, John Cardenas, swear under penalty of perjury that I am fluent in the English and Spanish
languages, that I read the foregoing declaration as in Spanish, and

that he agreed with its contents.

fee Cla— 03/14/2025
Name John Cardenas Date

